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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA,
                                          Criminal No. 93-536-01 (JBS)
                   Plaintiff,                           &
                                             Civil No. 08-1475 (JBS)
       v.

 RICHARD BALTER, et al.,                                 OPINION

                   Defendants.

 ______________________________

 RICHARD BALTER,

            Petitioner,

       v.

 UNITED STATES OF AMERICA,

            Respondent.



APPEARANCES:

Richard Balter, Pro Se
#17432-050
USP Allenwood
Inmate Mail/Parcels
P.O. BOX 3000
White Deer, PA 17887

Paul J. Fishman
United States Attorney
By: James P. Lynch
     Norman Joel Gross
     Assistant United States Attorneys
OFFICE OF THE US ATTORNEY
401 Market Street, 4th Floor
P.O. Box 2098
Camden, NJ 08101
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SIMANDLE, District Judge:



I.    INTRODUCTION

           These two cases are before the Court upon the petition of

Richard Balter for a writ of mandamus [Civil No. 08-1475, Docket

Item 1] to enforce an order of this Court entered upon the

criminal docket in which he is a defendant [Criminal Docket No.

93-00536.]       Mr. Balter has also filed a substantively identical

motion on the criminal docket, captioned as a "motion for

discovery."       [Criminal No. 93-536-01, Docket Item 20].              Finally,

Mr. Balter has moved for appointment of counsel in order to file

new motions related to his conviction and/or incarceration [Civil

No. 08-1475, Docket Item 10].          For the reasons explained below,

the Court will deny all three motions.



II.    BACKGROUND

      Richard Balter was convicted of one count of murder-for-hire

and three counts of mail fraud.         This Court sentenced him to life

imprisonment on September 14, 1994.              [Criminal Docket No.

93-00536.]       More than ten years later, on April 4, 2005, Mr.

Balter moved pursuant to Rule 41(g), Fed. R. Crim. P.,1 for the

       1
        The Rule, which covers court procedure related to search
and seizure, provides in relevant part that "[a] person aggrieved
by . . . the deprivation of property may move for the property’s
return. . . . The court must receive evidence on any factual
issue necessary to decide the motion." Fed. R. Crim. P. 41(g).

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return of property seized prior to his criminal trial consisting

of personal and business financial records [Criminal No. 93-536-

01, Docket Item 6].2

      Mr. Balter was the president and CEO of Northeast Poly

Products, Inc. ("NPP").      In 1993, as part of the criminal

investigation leading to Mr. Balter's conviction, his business

was searched and evidence was seized.             The inventory of the

search indicates that officers seized dozens of folders of

unknown size, several business manuals, assorted business papers

and correspondence, diskettes and CDs, and at least a dozen boxes

of account records along with items such as desk calendars.

(Davis Decl. attachment C.)      It is impossible to accurately

assess the volume of seized items from the search inventory

because of the vagueness of some of the descriptions.3

      Respondent did not oppose Petitioner's motion for the return

of the property, but did assert that the seized documents were so

voluminous as to make transfer to Petitioner, who is

incarcerated, difficult or impossible.              [Criminal No. 93-00536,

Docket Item 7].     On August 21, 2006, the Court, having



      2
        Mr. Balter is the petitioner on the civil docket, and the
defendant on the criminal docket, but the Court will refer to him
simply as Petitioner.
      3
        The Court has no way of knowing, for example, whether the
boxes of accounts receivable referred to in the search warrant
inventory are the same size as the boxes eventually identified by
Respondent in storage.

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communicated with authorities at Petitioner's place of

incarceration, ordered that "the United States Attorney’s Office

shall immediately return all personal and business financial

records of Richard Balter to him by mail or other package

delivery service, at the rate of ten (10) boxes per week until

concluded."    [Criminal No. 93-00536, Docket Item 16, at 2.]

      On February 26, 2007, Respondent submitted a letter from the

paralegal assigned to the matter in order to demonstrate its

compliance with the Court's order.4            [Criminal No. 93-00536,

Docket Item 17].     The letter indicates that Respondent was able

to find only twenty-one boxes of materials related to Defendant,

and the boxes included attorney work product, grand jury

transcripts, as well as some of the seized documents covered by

this Court's Order.      A document-by-document determination of what

was covered by the Order and Rule 41(g), Fed. R. Crim. P.,

narrowed the related files down to two boxes worth, which were

shipped to Petitioner.

      Surprised that only two boxes were sent to comply with an

Order permitting ten boxes per week, Petitioner filed the present

motion for writ of mandamus on March 24, 2008.                He seeks the

return of the other materials from the twenty-one boxes excluded



      4
        The initial submission was identified as an affidavit,
but was neither sworn nor notarized. Respondent's submission in
response to the Writ of Mandamus includes a duly sworn affidavit
relating the same information.

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from the two boxes ultimately sent to him, as well as any other

property still in possession of Respondent that is covered by

this Court's previous orders.          [Civil No. 08-1475, Docket Item

1].   Petitioner has also filed a redundant motion seeking the

same relief on the criminal docket [Criminal No. 93-00536, Docket

Item 20], along with many ex parte letters requesting discovery

of information related to the grand jury proceedings and his

records, tangentially referring to other legal theories [E.g.,

Docket Item 21 (referencing First Amendment)].

      The search warrant inventory indicates that the government

did, at one time, have more of Petitioner's property than that

contained in the boxes sent to him.              Respondent's submission in

response to the March 24, 2008 petition sheds some more light on

what happened to this additional seized property.                  According to

Special Agent James Glynn of the IRS, who participated in the

execution of the initial search warrant, all of the evidence

obtained on the search warrant inventory was initially

transported to the US Attorney's Office in Newark.                  (Glynn Decl.,

at 1-2.)   During trial in Camden, that portion of the documents

needed to prove the crimes ultimately charged were moved to the

US Attorney's Office in Camden.          Special Agent Glynn's

understanding is that after all appeals had been exhausted, the

documents not used at trial were returned to NPP or destroyed.

(Id.)


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       Postal Inspector Jeffrey DeFuria corroborates this account

of what happened to the evidence.            (DeFuria Decl., at 2.)         He

avers:

       Information has been obtained that sometime after
       sentencing of the subject in 1994, a Postal Inspector
       from the Postal Inspection Service spoke with David
       Balter, brother of Richard Balter, to inquire if he had
       any interest in recovering any of the company's documents
       and records that were taken into custody during the
       execution of the search warrant on April 29, 1993 that
       were in the possession of the government. At that time,
       David Balter declined to accept return of any documents
       that related to the business, or his brother, Richard
       Balter.   Afterwards, the case agent for the Internal
       Revenue Service, as per their agency policy and
       procedures, handled the destruction and/or disposal of
       these records.

(Id.)

       In June 2002, twenty-one boxes of materials retained from

the case by the prosecutors were sent to the National Archives.

The archives certified possession of the twenty-one boxes and no

others.    (Probst Decl. ¶ 1.)     Judging from the inventories of

these boxes, the seized property they contained was only that

evidence actually used or intended to be used at trial.                  (Probst

Decl. attachment A "WordPerfect Inventory;" Davis Decl.

attachment D ("Rough inventory of the 21 boxes.")                 These were the

boxes ultimately inventoried by Respondent's paralegal from which

the documents in the two boxes sent to Petitioner were culled.

(Id.)



III.    DISCUSSION

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      A.   Writ of Mandamus and Motion for Discovery

      Petitioner, proceeding pro se, is seeking enforcement of an

Order of this Court which was entered pursuant to 41(g), Fed. R.

Crim. P.     Petitioner is entitled to the return of the property

covered by this Court's grant of his original 41(g) motion.                   The

Court has considered all evidence received, as required by Rule

41(g), supra.

      The evidence submitted by Respondent suggests that

Respondent retained in the archives the seized property relevant

to the conviction and sentencing of Petitioner, and destroyed the

remaining property, including the NPP records Petitioner now

seeks.     This conclusion is supported by the diligent search

performed by Respondent's paralegal, the affidavits of Special

Agent Glynn and Inspector DeFuria, and the other evidence adduced

showing that the government does not retain any of the seized

property.     The question in this case is whether Plaintiff is

entitled to something further pursuant to Rule 41(g).                  The Court

therefore looks to the standard applied when a movant seeks the

release of property pursuant to Rule 41(g) that the government

claims is no longer available.

      In United States v. Albinson, 356 F.3d 278 (3d Cir. 2004),

the Third Circuit Court of Appeals defined this Court's inquiry:

      If the government asserts that it no longer has the
      property sought, the District Court must determine, in
      fact, whether the government retains possession of the
      property; if it finds that the government no longer

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      possesses the property, the District Court must determine
      what happened to the property. The District Court must
      hold an evidentiary hearing on any disputed issue of fact
      necessary to the resolution of the motion.


Albinson, 356 F.3d at 281 (internal quotation omitted).

The Court is permitted to make these determinations of whether

the government still has the property and what happened to it

based upon affidavits or verified documentary evidence, but any

disputed issues of material fact relating to the status of the

property or what happened to it require an evidentiary hearing.

Id. at 284.

      Petitioner does not maintain that the remaining items in the

twenty-one boxes are documents not seized from NPP, but merely

protests that the remaining documents are related to his case and

so should be sent to him.      And, in any case, the evidence

submitted by Respondent clearly indicates that there is nothing

in the twenty-one boxes that was not sent to Defendant that is

covered by this Court's order or Rule 41(g), Fed. R. Crim. P.

(Davis Decl. ¶¶ 1-5 & attachment D ("Rough inventory of the 21

boxes."))    The Court finds that Respondent appropriately sorted

out those documents constituting Mr. Balter's personal and

business records according to this Court's Order.                 To the extent

that Petitioner seeks the return of the remaining contents of the

twenty-one boxes, that request will be denied.

      The Court also determines that Respondent is no longer in


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possession of evidence beyond that contained in the twenty-one

boxes identified.        The evidence indicates that there are no

further boxes in the archives or in the relevant government

offices.   The fact that Respondent at one time possessed more of

NPP's property than was sent to Petitioner appears to be

uncontested by either side.        Petitioner's only dispute regarding

Respondent's affirmation that it is no longer in possession of

this property is based on two mistakes that compounded each

other:   Petitioner's mistaken reading of some requisition forms

and Respondent's initial mistaken estimation that the records

would be very voluminous.

      The first mistake is Petitioner's belief that the government

retains some 180 boxes.        This belief is an easily traceable

misapprehension.     Respondent's July 17, 2008 response to the

petition for writ of mandamus includes the records of Special

Agent Glynn's requisition of investigation files to ascertain

whether any seized property had been inadvertently intermingled

with materials prepared and stored by the IRS or the US Attorney.

(Glynn Decl., attachment D.)        The requisition documents make

reference to boxes 160 and 161 of 180.               Seeing this, Petitioner

concluded that Respondent has 180 boxes of seized property.                    But

the boxes requisitioned by Glynn are not boxes of seized

evidence, but instead internal notes and other investigation

materials; moreover, as explained in the affidavit supplied by


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Respondent to clarify the matter [Docket Item 9], the 180 boxes

contained many criminal case files, only some of which were

related to Mr. Balter's case.          Thus, the 180 boxes do not

contained property seized from NPP, and they never did.                And

there is no reason to think that Respondent's estimation of the

records still in possession of the government was not simply

outdated or mistaken.      Therefore, any dispute here is illusory.

Petitioner's submissions do not raise any genuine dispute as to

the conclusion drawn from the evidence submitted by Respondent:

that only twenty-one boxes remained as of February 2007, and only

some of the documents in those boxes were relevant.

      The next determination for the Court to make is what

happened to the other seized property not contained in the boxes

sent to Petitioner.      Respondent is unable to identify any

individual able to personally attest to what happened to the

property, nor any records indicating what happened.               Nor does

Respondent explain why it was originally believed that there were

so many boxes as to require the weekly shipment of ten boxes.

That Respondent cannot produce individuals with personal

knowledge of the matter is not surprising, as the motion for

return of the property was filed over a decade after the property

was seized, and many years after the conviction was affirmed and

Section 2255 remedies were at an end.           But the apparent fact that

these federal government offices either do not make a practice of


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recording when they destroy seized property, or did not do so at

the time, requires further consideration.

       The exact details of what happened to the remaining

property will never become more clear, and it appears to the

Court that any further investigation would be futile.               This

prejudgment of the fruits of further investigation would not

alone prevent the Court from convening an evidentiary hearing.

But the Court will not hold such a hearing absent some clearly

disputed issue of fact regarding what happened to the property;

an evidentiary hearing is not to be held merely to investigate

details that are not relevant to any actually disputed issue.

There is no genuine dispute over the fact that, over the course

of a decade, and after offering these seized business records to

Petitioner's brother who declined, the documents were destroyed.

Petitioner's sole reason for believing that Respondent did not

destroy the evidence as averred is an obvious misreading of the

requisition forms submitted by Respondent, and reliance upon

Respondent's earlier estimate as to the volume of evidence before

it had been identified and sorted.          Importantly, Petitioner has

not provided evidence from his own knowledge that the quantity of

materials seized extended beyond the items the Government has

accounted for.     On the issue of destruction of the evidence, as

with the issue of whether Respondent still possesses any

evidence, Petitioner's submissions identify no genuine dispute


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that should be resolved by an evidentiary hearing, and the Court

will not convene a hearing without having any material dispute to

resolve.

      It may be that Petitioner is entitled to some other relief

based on the destruction of the seized property.              Rule 41(g) is

not a mechanism, for example, to provide monetary compensation

for any unlawful destruction of seized property.              But Respondent

has exhausted its duties pursuant to Rule 41(g).              Therefore, this

petition for writ of mandamus will be denied along with identical

motion for discovery.      If Petitioner wishes to raise a new cause

of action based on the destruction of property that has become

apparent, he may seek to do so upon a new docket in a court of

competent jurisdiction by filing an appropriate claim.               This

Court does not suggest that such a claim would be meritorious.



      B.   Appointment of Counsel

      Petitioner also moves for appointment of counsel "for the

purpose of filing a successive § 2255 or § 1651 motion."                [Docket

Item 10.]    Petitioner alleges that he has vision problems such

that he can no longer perform his own legal work.              The Court may

consider his impairment as a factor in the appointment of

counsel, but cannot appoint counsel to generally serve as

Petitioner's lawyer for the vague purpose of filing new motions,

or other causes of action, the content of which is unknown.                 Upon


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the present docket, Petitioner has demonstrated no difficulty in

representing himself in this Rule 41(g) motion, which is now at

an end.



IV.   CONCLUSION

      The Court will deny the petition for writ of mandamus as the

Court finds that Respondent has complied with the Court's Order

pursuant to 41(g) to the fullest extent possible.              The Court is

satisfied from the affidavits and documentary evidence submitted

by Respondent that the government is no longer in possession of

Plaintiff's property, and that any other property it once had was

destroyed in the normal course over the passage of years.                The

Court will similarly deny any relief sought under the same theory

as the petition for the writ of mandamus, including the motion

for discovery filed on the criminal docket [Criminal No.

93-00536, Docket Item 20].       Any further relief in addition to

that provided in this Court's previous orders must be sought by a

new action upon a new docket in a court of competent

jurisdiction, at which time Plaintiff may seek appointment of pro

bono counsel if desired.       The existing dockets shall be closed,

and the accompanying Order entered.



March 29, 2010                               s/ Jerome B. Simandle
Date                                        JEROME B. SIMANDLE
                                            United States District Judge


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